                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN

SARAH MOORE,                                 )
                                             )
               Plaintiff,                    )
                                             )
v.                                           )         Case No. 3 2:20-cv-01029-SCD
                                             )
KOHL’S CORPORATION,                          )
                                             )
               Defendant.                    )

                                STIPULATION OF DISMISSAL

       NOTICE IS HEREBY GIVEN that Plaintiff SARAH MOORE, and Defendant KOHL’S

CORPORATION, acting through their attorneys, and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), hereby stipulate to dismiss the above captioned matter with prejudice, each party

to bear their own fees and costs.

                                                       Respectfully submitted,

Dated: July 6, 2021                                    /s/ Adam T. Hill
                                                       Adam T. Hill
                                                       The Law Office of Jeffrey Lohman, P.C.
                                                       28544 Old Town Front St., Ste. 201
                                                       Temecula, CA 92590
                                                       Tel. (657) 236-3525
                                                       F: (602) 857-8207
                                                       E: AdamH@jlohman.com

                                                       Attorneys for Plaintiff,
                                                       SARAH MOORE

Date: July 6, 2021                                     /s/ Michael F. Tuchalski
                                                       Michael F. Tuchalski
                                                       Kohl’s Department Stores Inc.
                                                       N56W17000 Ridgewood Drive
                                                       Menomonee Falls, WI 53051
                                                       Telephone: (262) 703-7706
                                                       Email: michael.tuchalski@kohls.com
                                                       Attorney for Defendant




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                               CERTIFICATE OF SERVICE

         I hereby certify that on July 6, 2021, a true and correct copy of the forgoing was
electronically filed with the Clerk of the Court using the CM/ECF with service on all registered
parties.

                                                    /s/ Adam T. Hill




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